              Case 24-54623-pwb                   Doc 1     Filed 05/06/24 Entered 05/06/24 18:10:59                               Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Belinda's Southern Cuisine Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  7322 Stonecrest Concourse
                                  Lithonia, GA 30038
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  DeKalb                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Belinda's Southern Cuisine Inc.                                                               Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                              operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number




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Debtor    Belinda's Southern Cuisine Inc.                                                                 Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

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Debtor   Belinda's Southern Cuisine Inc.                                              Case number (if known)
         Name

                               $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                               $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                               $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




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Debtor    Belinda's Southern Cuisine Inc.                                                          Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      May 6, 2024
                                                  MM / DD / YYYY


                             X /s/ Belinda Ann Hull                                                       Belinda Ann Hull
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   CEO




18. Signature of attorney    X /s/ Paul Reece Marr GA Bar #                                                Date May 6, 2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Paul Reece Marr GA Bar # 471230
                                 Printed name

                                 Paul Reece Marr, P.C.
                                 Firm name

                                 6075 Barfield Road
                                 Suite 213
                                 Sandy Springs, GA 30328-4402
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (770) 984-2255                Email address      paul.marr@marrlegal.com

                                 GA Bar # 471230 GA
                                 Bar number and State




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 Fill in this information to identify the case:
 Debtor name Belinda's Southern Cuisine Inc.
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF                                                                                Check if this is an
                                                GEORGIA, ATLANTA DIVISION
 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Georgia Dept. of                                    sales & use tax                                                                                              Unknown
 Revenue                                             and withholding
 Taxpayer Services                                   tax, interest, and
 Division                                            penalty
 PO Box 105499
 Atlanta, GA
 30348-5499
 DeKalb County Tax                                   ad valorem                                                                                                  $44,751.32
 Commissioner                                        property tax
 Property Tax
 Division
 P.O. Box 100004
 Decatur, GA
 30031-7004
 Media Buying                                        account payable                                                                                             $13,000.00
 Agency, LLC               billing@mediabuyi
 5665 New Northside        ngagency.net
 Drive
 Suite 530
 Atlanta, GA 30328
 Szabo Assocs/David        David Schimmack           account payable                                                                                             $12,975.00
 Schimmack
 for Link Media            info@szabo.com
 Outdoor
 3355 Lenox Road
 NE; # 945
 Atlanta, GA
 30326-1332
 ERC Specialists,                                    Employee                                                                                                    $10,028.30
 LLC                                                 Retention Credit
 560 Timpanogos                                      Services
 Circle                                              Agreement
 Orem, UT 84097




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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 Debtor    Belinda's Southern Cuisine Inc.                                                           Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 IOU Central Inc.                                    promissory note                                                                                               $9,894.00
 Robert Gloer, CEO
 600 TownPark Lane,
 Suite 100
 Kennesaw, GA
 30144
 Performance Food                                    account payable                                                                                               $8,871.27
 Group, Inc.
 1250 West Creek
 Parkway
 Henrico, VA 23238
 CFM Group LLC                                       account payable .                                                                                             $8,000.00
 representing          info@cfmgroup.biz             Atlanta, GA
 Aramark Co.
 2110 Powers Ferry
 Rd SE
 Atlanta, GA
 30339-5048
 US Foods, Inc.                                      account payable                                                                                               $4,941.89
 7950 Spence Road      Fax: 770-774-8500
 Fairburn, GA 30213
 Shift4                                              account payable           Disputed                                                                            $2,909.10
 2202 N. Irving St.
 Allentown, PA 18109
 EcoLab                                              account payable                                                                                               $2,200.00
 1 Eco Lab Place       Fax:
 Saint Paul, MN        +1-651-225-3098
 55102
 DeKalb County Tax                                   personal property                                                                                            Unknown
 Commissioner                                        tax
 Collections Division
 P.O. Box 117545
 Atlanta, GA
 30368-7545
 Corporation Service                                                                                          Unknown                   Unknown                   Unknown
 Company,              uccsprep@cscinfo.
 as Representative     com
 PO Box 2576
 Springfield, IL 62708
 Drew Gilliland, Esq.                                personal injury  Contingent                                                                                         $0.00
 attorney for                                        complaint, CV #  Unliquidated
 Monique Jackson                                     23A06024, DeKalb Disputed
 351 Atlanta St SE                                   County State
 Marietta, GA                                        Court
 30060-2258
 WebBank                                                                                                    $60,502.00                  Unknown                   Unknown
 c/o Toast Capital     capital@toasttab.c
 Loan LLC              om
 401 Park Drive; Suie
 801
 Boston, MA 02215



Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
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                                                      United States Bankruptcy Court
                                                Northern District of Georgia, Atlanta Division
 In re    Belinda's Southern Cuisine Inc.                                                                         Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Belinda Hull                                                                      100%                                       common stock
4483 Lionshead Circle
Lithonia, GA 30038


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the CEO of the corporation named as the debtor in this case, declare under penalty of perjury that I have read the
foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



Date May 6, 2024                                                         Signature /s/ Belinda Ann Hull
                                                                                        Belinda Ann Hull

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                               United States Bankruptcy Court
                                          Northern District of Georgia, Atlanta Division
 In re   Belinda's Southern Cuisine Inc.                                                         Case No.
                                                                     Debtor(s)                   Chapter      11




                                   VERIFICATION OF CREDITOR MATRIX


I, the CEO of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to the

best of my knowledge.




Date:     May 6, 2024                                    /s/ Belinda Ann Hull
                                                         Belinda Ann Hull/CEO
                                                         Signer/Title
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                        A.G. Adjustments LTD
                        representing US Foods, Inc.
                        740 Walt Whitman Rd.
                        Melville, NY 11747-9090



                        A.J. Mitchell, Esq.
                        for Johnson, Driver & Robinson
                        2388 Scenic Hwy S
                        Snellville, GA 30078



                        Allson McDonald, Esq.
                        Law Office of ZanitaKingHughes
                        3655 North Pointe Pkwy # 500A
                        Alpharetta, GA 30005



                        Belinda Ann Hull
                        4483 Lionshead Circle
                        Lithonia, GA 30038



                        Benjamin P. Thomas, Esq.
                        representing ERC Specialists
                        102 South 200 East, Suite 800
                        Salt Lake City, UT 84111



                        CFM Group LLC
                        representing Aramark Co.
                        2110 Powers Ferry Rd SE
                        Atlanta, GA 30339-5048



                        Corporation Service Company,
                        as Representative
                        PO Box 2576
                        Springfield, IL 62708



                        DeKalb County Tax Commissioner
                        Collections Division
                        P.O. Box 117545
                        Atlanta, GA 30368-7545
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                    DeKalb County Tax Commissioner
                    Property Tax Division
                    P.O. Box 100004
                    Decatur, GA 30031-7004



                    Drew Gilliland, Esq.
                    attorney for Monique Jackson
                    351 Atlanta St SE
                    Marietta, GA 30060-2258



                    EcoLab
                    1 Eco Lab Place
                    Saint Paul, MN 55102



                    ERC Specialists, LLC
                    560 Timpanogos Circle
                    Orem, UT 84097



                    Georgia Department of Revenue
                    Kelly Dye, Revenue Agent
                    1800 Century Blvd NE # 12000
                    Atlanta, GA 30345



                    Georgia Dept. of Revenue
                    Taxpayer Services Division
                    PO Box 105499
                    Atlanta, GA 30348-5499



                    Georgia Deptartment of Revenue
                    Central Collection Section
                    1800 Centrury Blvd NE, # 9100
                    Atlanta, GA 30345-3205



                    IOU Central Inc.
                    Robert Gloer, CEO
                    600 TownPark Lane, Suite 100
                    Kennesaw, GA 30144
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                    Media Buying Agency, LLC
                    5665 New Northside Drive
                    Suite 530
                    Atlanta, GA 30328



                    Newtek Small Business Finance
                    Barry Sloane, CEO
                    1981 Marcus Avenue, Suite 130
                    New Hyde Park, NY 11042



                    Performance Food Group, Inc.
                    1250 West Creek Parkway
                    Henrico, VA 23238



                    Performance Foodservice
                    PO Box 935716
                    Atlanta, GA 31193-5716



                    Shift4
                    2202 N. Irving St.
                    Allentown, PA 18109



                    Szabo Assocs/David Schimmack
                    for Link Media Outdoor
                    3355 Lenox Road NE; # 945
                    Atlanta, GA 30326-1332



                    US Foods, Inc.
                    7950 Spence Road
                    Fairburn, GA 30213



                    Vivin Hudson Uchitel, Esq.
                    representing PFG
                    3490 Piedmont Rd NE; Ste 1100
                    Atlanta, GA 30305
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                    WebBank
                    c/o Toast Capital Loan LLC
                    401 Park Drive; Suie 801
                    Boston, MA 02215
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                                           United States Bankruptcy Court
                                     Northern District of Georgia, Atlanta Division
 In re   Belinda's Southern Cuisine Inc.                                               Case No.
                                                              Debtor(s)                Chapter     11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Belinda's Southern Cuisine Inc. in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




May 6, 2024                                      /s/ Paul Reece Marr GA Bar #
Date                                             Paul Reece Marr GA Bar # 471230
                                                 Signature of Attorney or Litigant
                                                 Counsel for Belinda's Southern Cuisine Inc.
                                                 Paul Reece Marr, P.C.
                                                 6075 Barfield Road
                                                 Suite 213
                                                 Sandy Springs, GA 30328-4402
                                                 (770) 984-2255 Fax:(678) 623-5109
                                                 paul.marr@marrlegal.com
